                                      United States Bankruptcy Court
                                      Middle District of Tennessee
In re:                                                                                  Case No. 20-00625-MFH
JETHRO SHELDON THURSTON                                                                 Chapter 13
JENNIFER LEIGH THURSTON
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0650-3           User: mlh9971                Page 1 of 3                   Date Rcvd: May 20, 2020
                               Form ID: pdf007              Total Noticed: 80


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 22, 2020.
db/jdb         +JETHRO SHELDON THURSTON,    JENNIFER LEIGH THURSTON,      5187 MURFREESBORO ROAD,
                 Lebanon, TN 37090-0627
cr             +J & L Sales,    P.O. Box 146,    Paris, TN 38242-0146
7088886        +ADVANCED DISAGNOSTIC IMAGING,     PO BOX 292367,    Nashville TN 37229-2367
7088887        +AES/PHEAA,    Attn: Bankruptcy,    Po Box 2461,    Harrisburg PA 17105-2461
7088888       #+AMERICAN MEDICAL RESPONSE OF TN,     50 SOUTH MAIN STREET, STE 401,     Akron OH 44308-1829
7126150        +BANK OF MISSOURI,    2700 S LORRAINE PL,     SIOUX FALLS, SD 57106-3657
7088889        +BIG PICTURE LOANS,    ATTN: CUSTOMER SUPPORT,     PO BOX 704,    Watersmeet MI 49969-0704
7088891        +BRIDGESCREST ACCEPTANCE CORP,     7300 E HAMPTON AVENUE, STE 101,     Mesa AZ 85209-3324
7088892        +BUDDYS HOME FURNISHINGS,    250 SEGLER DRIVE,     Oak Grove KY 42262-8331
7097698         Bridgecrest credit company, LLC,     PO Box 29018 Phoenix AZ 85038
7088894        +Central Credit Services, LLC,     9550 Regency Square Blvd,     Suite 500 A,
                 Jacksonville FL 32225-8169
7088896        +Commonwealth Financial Systems,     Attn: Bankruptcy,     245 Main Street,
                 Dickson City PA 18519-1641
7088898        +Debt Recovery Solution,    Attn: Bankruptcy,     6800 Jericho Turnpike Suite 113e,
                 Syosset NY 11791-4401
7088901        +First Nataional Bank/Legacy,     Attn: Bankruptcy,    Po Box 5097,    Sioux Falls SD 57117-5097
7088902        +First PREMIER Bank,    Attn: Bankruptcy,     Po Box 5524,    Sioux Falls SD 57117-5524
7088905        +Great Lakes Higher Education Corporation,      Attn: Bankruptcy,    Po Box 7860,
                 Madison WI 53707-7860
7088906        +Great Lakes Higher Education Corporation,      c/o The United States Attorney s Office,
                 110 9th Ave S # A961,    Nashville TN 37203-3870
7131462        +Harpeth Financial Services, LLC,     c/o The Hill Firm PLLC,     PO Box 150529,
                 Nashville, TN 37215-0529
7088907        +IC System, Inc,    Attn: Bankruptcy,    Po Box 64378,     Saint Paul MN 55164-0378
7088909        +J & L SALES AND RENTALS LLC,     PO BOX 146,    Paris TN 38242-0146
7088910         KNIGHT & HOOPER PLLC,    701 MARKET ST SUITE 700,     PO BOX 11583,    Chattanooga TN 37401-2583
7088911        +LEE & LEE ATTORNEYS AT LAW,     109 E GAY ST,    Lebanon TN 37087-3697
7088917        +MONROE CARELL JR. CHILDRENS HOSPITAL AT,      VANDERBILT UNIVERSITY,    DEPT 1171 PO BOX 121171,
                 Dallas TX 75312-1171
7088918        +MRS BPO LLC,    1930 OLNEY AVENUE,    Cherry Hill NJ 08003-2016
7137902         National Credit Adjusters, LLC,     Attn: Bankruptcy Department,
                 P.O. Box 3023 Hutchinson, KS. 67504
7088919        +Nationwide Recovery,    501 Shelley Dr Ste 300,      Tyler TX 75701-9553
7088921        +Navient,   c/o The United States Attorney s Office,       110 9th Ave S # A961,
                 Nashville TN 37203-3870
7088923        +PHILLIPS & COHEN ASSOCIATES LTD,     1002 JUSTISON ST,     Wilmington DE 19801-5148
7088925        +PIONEER CREDIT RECOVERY INC,     26 EDWARD STREET,    Arcade NY 14009-1012
7137370         Pendrick Capital Partners II, LLC,     Peritus Portfolio Services II, LLC,      PO BOX 141419,
                 IRVING, TX 75014-1419
7088928        +Security Credit Services,     Attn: Bankruptcy,    Po Box 1156,    Oxford MS 38655-1156
7088931        +TENNOVA HEALTHCARE,    PO BOX 1280,    Oaks PA 19456-1280
7088930        +TENNOVA HEALTHCARE,    PO BOX 281384,    Atlanta GA 30384-1384
7088932        +THE HILL FIRM PLLC,    PO BOX 150529,    Nashville TN 37215-0529
7088933        +THOMAS THURSTON,    5187 MURFREESBORO ROAD,     Lebanon TN 37090-0627
7088934        +TN QUICK CASH,    408 S CUMBERLAND ST,    Lebanon TN 37087-3983
7131063        +Tennessee Quick Cash, Inc.,     c/o Barry J Gammons,    P.O. Box 330610,
                 Nashville, TN 37203-7509
7088935        +Total Visa/Bank of Missouri,     Attn: Bankruptcy,    Po Box 85710,    Sioux Falls SD 57118-5710
7088937        +Usdoe/glelsi,    Attn: Bankruptcy,    Po Box 7860,    Madison WI 53707-7860
7088940        +Wakefield & Associates,    Attn: Bankruptcy,     7005 Middlebrook Pike,    Knoxville TN 37909-1156

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
7091240         E-mail/Text: GUARBKe-courtdocs@ascendiumeducation.org May 21 2020 02:11:54
                 Ascendium Education Solutions, Inc,     PO Box 8961,    Madison WI 53708-8961
7131072        +E-mail/Text: g20956@att.com May 21 2020 02:12:39        AT&T Mobility II LLC,
                 %AT&T SERVICES INC.,    KAREN A. CAVAGNARO PARALEGAL,      ONE AT&T WAY, SUITE 3A104,
                 BEDMINSTER, NJ. 07921-2693
7116904        +E-mail/Text: bnc@atlasacq.com May 21 2020 02:11:59        Atlas Acquisitions LLC,   294 Union St.,
                 Hackensack, NJ 07601-4303
7088890        +E-mail/Text: dl-collectionsbankruptcyteam@drivetime.com May 21 2020 02:12:37        BRIDGECREST,
                 7300 E HAMPTON AVENUE, STE 101,     Mesa AZ 85209-3324
7088893        +E-mail/Text: opsqa_usbankruptcy@cashnetusa.com May 21 2020 02:11:58        CASHNET USA,
                 175 WEST JACKSON,    SUITE 1000,    Chicago IL 60604-2863
7088897         E-mail/PDF: creditonebknotifications@resurgent.com May 21 2020 02:28:12        CREDIT ONE BANK,
                 PO BOX 60500,    City of Industry CA 91716-0500
7114189        +E-mail/Text: opsqa_usbankruptcy@cashnetusa.com May 21 2020 02:11:58        CashNetUSA,
                 175 W Jackson Blvd,    Suite 1000,    Chicago, IL 60604-2863
7137482        +E-mail/Text: khorner@checkintocash.com May 21 2020 02:12:42        Check Into Cash,
                 201 Keith St SW,    Suite 80,    Cleveland, TN 37311-5867
7121713         E-mail/Text: G06041@att.com May 21 2020 02:12:34        Directv, LLC,
                 by American InfoSource as agent,     PO Box 5008,    Carol Stream, IL 60197-5008
          Case 3:20-bk-00625       Doc 42 Filed 05/22/20 Entered 05/22/20 23:52:35                  Desc
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Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
7088900        +E-mail/Text: bknotices@totalcardinc.com May 21 2020 02:12:20        FIRST ACCESS,    PO BOX 5220,
                 Sioux Falls SD 57117-5220
7088903         E-mail/Text: bankruptcies@foxcollection.com May 21 2020 02:12:18        FOX COLLECTION,
                 PO BOX 528,    Goodlettsville TN 37070-0528
7093135        +E-mail/Text: bankruptcies@foxcollection.com May 21 2020 02:12:18        FOX COLLECTION CENTER,
                 C/O NEUROLOGY CLINIC AND ASSOC,     PO BOX 528,    GOODLETTSVILLE, TN 37070-0528
7093131        +E-mail/Text: bankruptcies@foxcollection.com May 21 2020 02:12:18        FOX COLLECTION CENTER,
                 C/O ADVANCED SLEEP OF MIDDLE TN,     PO BOX 528,    GOODLETTSVILLE, TN 37070-0528
7088899        +E-mail/Text: bnc-bluestem@quantum3group.com May 21 2020 02:12:40        Fingerhut,
                 Attn: Bankruptcy,    Po Box 1250,    Saint Cloud MN 56395-1250
7088904        +E-mail/Text: bankruptcies@foxcollection.com May 21 2020 02:12:18        Fox Collection Center,
                 Attn: Bankruptcy,    Po Box 528,    Goodlettsvile TN 37070-0528
7088908         E-mail/Text: sbse.cio.bnc.mail@irs.gov May 21 2020 02:12:05        INTERNAL REVENUE SERVICE,
                 CENTRALIZED INSOLVENCY OPERATIONS,     PO BOX 7346,    Philadelphia PA 19101-7346
7088895         E-mail/PDF: ais.chase.ebn@americaninfosource.com May 21 2020 02:26:01         Chase Card Services,
                 Attn: Bankruptcy,    Po Box 15298,    Wilmington DE 19850
7109720         E-mail/Text: documentfiling@lciinc.com May 21 2020 02:11:56        Tea Olive, LLC,    PO BOX 1931,
                 Burlingame, CA 94011
7093070         E-mail/PDF: resurgentbknotifications@resurgent.com May 21 2020 02:25:54         LVNV Funding, LLC,
                 Resurgent Capital Services,    PO Box 10587,     Greenville, SC 29603-0587
7088912        +E-mail/PDF: resurgentbknotifications@resurgent.com May 21 2020 02:27:09
                 LVNV Funding/Resurgent Capital,     Attn: Bankruptcy,    Po Box 10497,   Greenville SC 29603-0497
7088913        +E-mail/Text: bankruptcy@sccompanies.com May 21 2020 02:11:46        MASSEYS,    PO BOX 2822,
                 Monroe WI 53566-8022
7117017        +E-mail/Text: bankruptcy@sccompanies.com May 21 2020 02:11:46        Massey’s,
                 c/o Creditors Bankruptcy Service,     P.O. Box 800849,    Dallas, TX 75380-0849
7088914        +E-mail/Text: rcpsbankruptcynotices@parallon.com May 21 2020 02:12:48         Medicredit Inc.,
                 Attn: Bankruptcy Department,     Po Box 1629,    Maryland Heights MO 63043-0629
7088915        +E-mail/PDF: MerrickBKNotifications@Resurgent.com May 21 2020 02:25:44
                 Merrick Bank/CardWorks,    Attn: Bankruptcy,     Po Box 9201,   Old Bethpage NY 11804-9001
7117018        +E-mail/Text: bankruptcy@sccompanies.com May 21 2020 02:12:52        Midnight Velvet,
                 c/o Creditors Bankruptcy Service,     P.O. Box 800849,    Dallas, TX 75380-0849
7088916        +E-mail/Text: bankruptcy@sccompanies.com May 21 2020 02:12:52        Midnight Velvet/Swiss Colony,
                 Attn: Bankruptcy,    1112 Seventh Ave,    Monroe WI 53566-1364
7088920        +E-mail/PDF: pa_dc_claims@navient.com May 21 2020 02:25:47        Navient,    Attn: Claims Dept,
                 Po Box 9500,    Wilkes-Barr PA 18773-9500
7088924         E-mail/Text: info@phoenixfinancialsvcs.com May 21 2020 02:11:54
                 PHOENIX FINANCIAL SERVICES LLC,     PO BOX 361450,    Indianapolis IN 46236-1450
7137676         E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com May 21 2020 08:36:21
                 Portfolio Recovery Associates, LLC,     POB 12914,    Norfolk VA 23541
7088922        +E-mail/Text: bkrnotice@prgmail.com May 21 2020 02:12:19        Paragon Revenue Group,
                 Attn: Bankruptcy,    216 Le Phillip Ct Ne,    Concord NC 28025-2954
7128660         E-mail/Text: JCAP_BNC_Notices@jcap.com May 21 2020 02:12:30        Premier Bankcard, Llc,
                 Jefferson Capital Systems LLC Assignee,     Po Box 772813,    Chicago Il 60677-2813
7088926        +E-mail/Text: BANKRUPTCY@RADALLIANCE.COM May 21 2020 02:12:43        RADIOLOGY ALLIANCE,
                 PO BOX 440166,    Nashville TN 37244-0166
7088927        +E-mail/Text: Supportservices@receivablesperformance.com May 21 2020 02:12:42
                 RECEIVABLES PERFORMANCE MANAGEMENT LLC,     20816 44TH AVE W,    Lynnwood WA 98036-7744
7088929        +E-mail/Text: bncnotices@stengerlaw.com May 21 2020 02:11:58        STENGER & STENGER,
                 2618 EAST PARIS AVE SE,    Grand Rapids MI 49546-2458
7137888        +E-mail/Text: bncmail@w-legal.com May 21 2020 02:12:25        Scolopax, LLC,
                 C O WEINSTEIN & RILEY, PS,    2001 WESTERN AVENUE, STE 400,     Seattle, WA 98121-3132
7117019        +E-mail/Text: bankruptcy@sccompanies.com May 21 2020 02:12:52        Seventh Avenue,
                 c/o Creditors Bankruptcy Service,     P.O. Box 800849,    Dallas, TX 75380-0849
7088939         E-mail/Text: wfmelectronicbankruptcynotifications@verizonwireless.com May 21 2020 02:11:47
                 VERIZON WIRELESS,    PO BOX 25505,    Lehigh Valley PA 18002-5505
7088938        +E-mail/Text: webadmin@vhllc.co May 21 2020 02:12:40        Vance & Huffman Llc,    Attn: Bankruptcy,
                 55 Monette Pkwy, Ste 100,    Smithfield VA 23430-2577
7088941        +E-mail/PDF: bk@worldacceptance.com May 21 2020 02:28:12        WORLD FINANCE,    PO BOX 6429,
                 Greenville SC 29606-6429
7108971        +E-mail/PDF: bk@worldacceptance.com May 21 2020 02:28:12
                 World Finance Corp. c/o World Acceptance Corp.,      Attn: Bankruptcy Processing Center,
                 PO Box 6429,    Greenville, SC 29606-6429
                                                                                                TOTAL: 40

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
7088936         United States Bankruptcy Court
cr*            +Atlas Acquisitions LLC,   294 Union St.,   Hackensack, NJ 07601-4303
cr*            +Harpeth Financial Services, LLC,   c/o The Hill Firm, PLLC,   PO Box 150529,
                 Nashville, TN 37215-0529
7097966*        Bridgecrest credit company, LLC,   PO Box 29018 Phoenix AZ 85038
                                                                                               TOTALS: 1, * 3, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

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             ***** BYPASSED RECIPIENTS (continued) *****

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 22, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 20, 2020 at the address(es) listed below:
              DAVID GEORGE MANGUM    on behalf of Creditor    J & L Sales notice@davidmangum.com,
               terrijackson@davidmangum.com
              HENRY EDWARD HILDEBRAND, III    hhecf@ch13nsh.com
              ROBERT JOSEPH HILL, II    on behalf of Creditor    Harpeth Financial Services, LLC
               hillfirmnotices@gmail.com
              SCOTT D WILSON   on behalf of Joint Debtor JENNIFER LEIGH THURSTON wilsonlgl@hotmail.com,
               wilsonlegalservices@gmail.com;wilsonsr82038@notify.bestcase.com
              SCOTT D WILSON   on behalf of Debtor JETHRO SHELDON THURSTON wilsonlgl@hotmail.com,
               wilsonlegalservices@gmail.com;wilsonsr82038@notify.bestcase.com
              US TRUSTEE   ustpregion08.na.ecf@usdoj.gov
                                                                                              TOTAL: 6




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                                                              '!+;                                    ;) !?




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 $        @*                                                        $      ?6??8 6>@+6!+


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MM 50H
 50H                                                                         >202 C@20
2GC@                                                                      9'%()
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                                                           '!+;                                  ;)8 !?




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$         @*                                                        $          ?6??8 6>@+6!+


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                        !      
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  A$-B%  $   ($ ;: %
  O293 %%'  %$ %     $.$
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                                                                                                                         
                                                  ('                                             $ 

              *2 Q*;G*                              C0H0 =C                                                         !
              *2 Q*;G*                                 0 C
 L            0 =           0>;2 GHH            2*>0H H2                                                   +
              ?8@GH +??
 L            0 =   0>;2 GHH                    2*>0H H2                                                   +
               ?!  =  20= 
 L            2 H2H 2           2HHH                         6H 2 ;G>M;;                             +
              !?K ?@
               50H                                    2           GC                                              4
 L            2 H2H 2           2HHH              H 2 2 2                                                    
              !?K ?@
 L            * 0 2  2*G                            ;00G           0                                       8
              !:!7!<0 > 2K
         M     50H                                    2G* 0               0 M;02G                    :
              2 2        02= 0                          *  *                  0                                 7
 L            2 2       H    ;C>0     H               *  *                  0                                 7
              2 2       H    ;C>0     H               *  *                  0                                 7
              2> 02 >         02H ;  C            *  *                  0                                 7
              2> 02 >         02H ;  C            *  *                  0                                 7
 L            2     0*> *20 H*0                    *  *                  0                                 7
              *     H2
 L            2>0H0G00HH                             *  *                  0                                 7
 L            2 QC>0*0                                 *  *                  0                                 7
              02
              0=;0* H2                                 *  *                  0                                 7
 L            2@    *2                                     *  *                  0                                 7
                                                           '!+;                                     ;): !?




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$     @*                                                    $          ?6??8 6>@+6!+


          @2 2  0                           *  *                  0                                7
          
 L        @ Q0 2@                              *  *                  0                                7
               0   2 Q                          *  *                  0                                7
           0                                       *  *                  0                                7
 L         0 HH                                  *  *                  0                                7
          C0 = @*                                    *  *                  0                                7
          C0 = @*                                    *  *                  0                                7
          C02                                  *  *                  0                                7
          C0 20 2H2 QH =2G                   *  *                  0                                7
          
          = 2H2Q @0=@         *20            *  *                  0                                7
          *    H2
 L        @2; @C0 2 02H                            *  *                  0                                7
          * => 
 L         CC  2;02HG >HH                *  *                  0                                7
          C0; >0 2 Q
 L         CC  2;02HG >HH                *  *                  0                                7
          C0; >0 2 Q2
          Q 0=@2      @; ;HH                   *  *                  0                                7
          H C*       0 =                            *  *                  0                                7
 L        H C*       0 =HH                        *  *                  0                                7
           0        2 Q
 L        >2 G                                      *  *                  0                                7
          > 0Q2 Q                                 *  *                  0                                7
          > 0Q2 Q2 5Q                       *  *                  0                                7
          
 L        >0     0=@ H                            *  *                  0                                7
          >  2 HH@0H             @;0   *  *                  0                                7
 L         20 2H         02 *              *  *                  0                                7
          ;   G2@
           20                                        *  *                  0                                7
          *       H2
           20                                        *  *                  0                                7
          *       H2
           20                                        *  *                  0                                7
          *       H2

                                                   '!+;                                    ;)7 !?




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$     @*                                                $          ?6??8 6>@+6!+


           20                                    *  *                  0                                7
          *      H2
           20                                    *  *                  0                                7
          *      H2
           20                                    *  *                  0                                7
          *      H2
           20                                    *  *                  0                                7
          *      H2
           20                                    *  *                  0                                7
          *      H2
           20                                    *  *                  0                                7
          *      H2
           20                                    *  *                  0                                7
          *      H2
           20                                    *  *                  0                                7
          *      H2
           20                                    *  *                  0                                7
          *      H2
           20                                    *  *                  0                                7
          *      H2
           20                                    *  *                  0                                7
          *      H2
           20                                    *  *                  0                                7
          *      H2
           20                                    *  *                  0                                7
          *      H2
 L            *H=GH0 02       2        *  *                  0                                7
 L        ;   0Q2;02H;2 00              *  *                  0                                7
          H>  > = G;@G002 
 L        ;   0Q2;02H;2 00              *  *                  0                                7
          H>  > = G;@G002 
 L        ;   0Q2;02H;2 00              *  *                  0                                7
          H>  > = G;@G002 
 L        ;   0Q2;02H;2 00              *  *                  0                                7
          H>  > = G;@G002 
 L        ;   0Q2;02H;2 00              *  *                  0                                7
          50  > = G;@G002
 L        ;   0Q2;02H;2 00              *  *                  0                                7
          H>  > = G;@G002 
 L        ;      0Q2;02H;2     00       *  *                  0                                7
                                               '!+;                                    ;)< !?




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$     @*                                                  $             ?6??8 6>@+6!+


          H>  > =          G;@G002 
 L        ;   0Q2;02H;2 00                *  *                   0                                     7
          H>  > = G;@G002 
 L        ;   0Q2;02H;2 00                *  *                   0                                     7
          H>  > = G;@G002 
          ;0        0  G                 *  *                   0                                     7
 L        ;CH0  G202 HH *  *                            0                                     7
          2H2G2 Q H52
          *@ C * G > =          G>      *  *                   0                                     7
 L        H;2KHH                               *  *                   0                                     7
           >;
           *0G     0 0                 *  *                   0                                     7
 L            @2     *                          *  *                   0                                     7
          *>>0>      02H                     *  *                   0                                     7
 L         2H0 HH                              *  *                   0                                     7
          2@ *2
           >; HH                                 *  *                   0                                     7
 L             R*0Q2@                        *  *                   0                                     7
          * => 
               2@ 2H@2                        *  *                   0                                     7
               2@ 2H@2                        *  *                   0                                     7
               2@ 2H@2 H 2                 *  *                   0                                     7
               2@ 2H@2 H 2                 *  *                   0                                     7
               2@ 2H@2 H 2                 *  *                   0                                     7
          *  =H H0                               *  *                   0                                     7
          *    H2
          50H 2 Q2       *                 *  *                   0                                     7
 L        5H C0 2                                *  *                   0                                     7
          !+?H20>                                 *  *            6!+?                                            <




                                                 '!+;                                             ;)!? !?
                                                                                   This Order has been electronically
                                                                                   signed. The Judge's signature and
                                                                                   Court's seal appear at the top of the
                                                                                   first page.
                                                                                   United States Bankruptcy Court.




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